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 6
   Attorneys for Plaintiff
 7 United States of America

 8

 9                               IN THE UNITED STATES DISTRICT COURT

10                                  EASTERN DISTRICT OF CALIFORNIA

11
     UNITED STATES OF AMERICA,                           CASE NO. 2:14-CR-00083
12
                                  Plaintiff,             STIPULATION REGARDING CONTINUANCE OF
13                                                       SENTENCING; [PROPOSED] ORDER
                            v.
14                                                       DATE: May 19, 2017
     MIHRAN MELKONYAN,                                   TIME: 9:00 a.m.
15                                                       COURT: Hon. Garland E. Burrell, Jr.
                                  Defendant.
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17
                                                 STIPULATION
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            Plaintiff United States of America, by and through its counsel of record, and defendant, by and
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     through defendant’s counsel of record, hereby stipulate as follows:
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            1.      By previous order, this matter was set for sentencing on May 19, 2017.
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            2.      By this stipulation, the parties now move to continue sentencing until June 23, 2017.
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            3.      The parties agree and stipulate that this continuance will provide new defense counsel
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     time to prepare for sentencing. Trial counsel for defendant is currently out on medical leave, and his
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     colleague at the Office of the Federal Defender has requested additional time to prepare for sentencing.
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            IT IS SO STIPULATED.
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      STIPULATION AND [PROPOSED] ORDER REGARDING         1
30    CONTINUANCE
          Case 2:14-cr-00083-DJC-EFB Document 193 Filed 05/15/17 Page 2 of 2

     Dated: May 12, 2017                                 PHILLIP A. TALBERT
 1                                                       United States Attorney
 2
                                                         /s/ MATTHEW M. YELOVICH
 3                                                       MICHAEL D. ANDERSON
                                                         MATTHEW M. YELOVICH
 4                                                       Assistant United States Attorneys
 5

 6 Dated: May 12, 2017                                   /s/ MICHAEL PETRIK
                                                         MICHAEL PETRIK
 7
                                                         Counsel for Defendant
 8                                                       MIHRAN MELKONYAN

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                                                   ORDER
12
           IT IS SO ORDERED.
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           Dated: May 12, 2017
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      STIPULATION AND [PROPOSED] ORDER REGARDING     2
30    CONTINUANCE
